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                                UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF LOUISIANA


In re                                                    )       Chapter 11
                                                         )
EAST WEST COPOLYMER, LLC                                 )       Case No. 17-10327
                                                         )
           Debtor.                                       )


                           STIPULATION REGARDING PROOF OF CLAIM
                                   OF GOODPACK USA, INC.

           WHEREAS, on April 7, 2017, East West Copolymer, LLC (“Debtor”) filed for

bankruptcy relief under chapter 11 of the Bankruptcy Code.

           WHEREAS, Goodpack USA, Inc. (“Goodpack”) timely filed Proof of Claim Number

108 on or about July 11, 2017 (“Proof of Claim”), asserting a claim against the Debtor in the

amount of $848,697.40;

           WHEREAS, on November 29, 2017, the Court confirmed the Chapter 11 Plan of

Liquidation Proposed by East West Copolymer, LLC and the Official Committee of Unsecured

Creditors Dated October 20, 2017 and Immaterially Modified as of November 29, 2017 [Docket

No. 343] (the “Plan”)1.

           WHEREAS, the Plan went effective on December 14, 2017.

           WHEREAS, consistent with the Plan and pursuant to the confirmation order, Dwayne

Murray was appointed the Liquidating Trustee.

           WHEREAS, the Liquidating Trustee timely filed an objection to the Proof of Claim on

or about February 1, 2018, which among other things, challenged Goodpack’s entitlement to

priority for a portion of the claim and further sought support for a rejection damage claim in the

amount of $485,450.00.
1
    Capitalized terms not defined herein are as defined in the Plan.


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         WHEREAS, the parties agreed to and submitted a proposed consent order, which

consent order was rendered by the court, that (a) stipulated that none of the Proof of Claim is

entitled to priority and (b) continued the hearing on the Liquidating Trustee’s objection to the

amount of the damage claim, first to May 30, 2018, and then again by minute entry to June 27,

2018.

         WHEREAS, the Liquidating Trustee and Goodpack now agree to the entry of this

stipulation as follows:

         1.    The Proof of Claim will be reduced from $848,697.40 and will be Allowed as a

General Unsecured Claim in the amount of $533,863.15.

         2.     Any and all Claims or Causes of Action, if any exist, except as set forth herein,

by either party against the other, are fully released and compromised.

         3.    To the extent that any Court approval of this Stipulation is required or deemed

necessary, the Liquidating Trustee and Goodpack will cooperate in jointly seeking such

approval.

AGREED TO AND ACCEPTED BY:

Dated: June 21, 2018

/s/ Christine A. Walsh                                /s/ Michael A. Crawford
Christine Walsh                                       Michael A. Crawford (# 22315)
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